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              UNITED STATES DISTRICT COURT
                                       Western District of Wisconsin

GEO RGE H. PETERS,
                                                                     JUDGMENT IN A CIVIL CASE
                        Plaintiff,
                                                                                Case No.: 05-C-649-C
                v.



ASTRAZENECA, LP and
PROCTER & GAM BLE DISTRIBUTIN G
CO MPAN Y; DAVID BREN N AN , CEO ,
Astrazeneca, L.P; and ALLAN G. LAFLEY,
CEO, Procter & Gam ble Distributing Com pany,



                        Defendants.




This action came for consideration before the court with U. S. District Judge Barbara B. Crabb presiding.
The issues have been considered and a decision has been rendered.

                                     IT IS ORDERED AND ADJUDGED

        This case is dismissed against defendants.



                              THERESA M. OWENS
_________________________________________________________________________________
                             Theresa M. Owens, Clerk

                                                                                                   6/12/06
                                /s/ S. Vogel                                              ______________________
                                 by Deputy Clerk                                                      Date
